This is an application for leave to appeal from refusal of a writ of habeas corpus.
Petitioner alleges that he was convicted of burglary without legal justification because he claims that burglary "is the breaking and entering of a house between 9 P.M. and and 6 A.M.", while the prosecuting witness stated that the house was robbed between 6 a.m. and 7 p.m. He says that since he has been in prison he remembers that he was not in Baltimore at the time the crime was committed. He asks that this court summon a number of witnesses to testify here. The questions of guilt or innocence and the sufficiency of the evidence cannot be retried on habeas corpus. Olewiler v. Brady, 185 Md. 341, 344, 44 A.2d 807;Bernard v. Warden of *Page 732 Maryland House of Correction, 187 Md. 273, 49 A.2d 737;Copeland v. Wright, 188 Md. 666, 53 A.2d 553. Of course, no testimony can be taken in this court. Rountree v. Wright,Warden, 189 Md. 292, 55 A.2d 847.
Application denied, without costs.